Case 2:19-mj-00040-DM Document 18 Filed 05/21/19 Page 1 of 1

MINUTE ENTRY
MAY 21, 2019
NORTH, M.J.

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
UNITED STATES OF AMERICA | CRIMINAL ACTION
VERSUS NO. 19-040
GEOURVON KEINELL Sé#e5 _ SECTION: MAG

INITIAL APPEARANCE BOND VIOLATION

APPEARANCES: _X/DEFENDAN(WITH)WITHOUT COUNSEL __CELIA C. RHOADS
X/ ASST. U. S. ATTORNEY _SPIRO LATSIS
“X/ PRETRIAL OFFICER AMY LAPOINTE
__/ INTERPRETER, .SWORN (TIME:_____.M. TO M.)

_X/DEFENDANT WAS ADVISED OF HIS RIGHTS

X/ READING OF PETITION/RULE TO REVOKE: REALQYSUMMARIZED) WAIVED

' __/ DEFENDANT INFORMED THE COURT THAT COUNSEL WOULD BE RETAINED
__/ REQUESTED COURT-APPOINTED COUNSEL; SWORN RE FINANCIAL STATUS
__/ FEDERAL PUBLIC DEFENDER APPOINTED TO REPRESENT THE DEFENDANT
__/ DEFENDANT FOUND NOT TO BE LEGALLY INDIGENT
__/ BOND AMENDED:

 

 

__/DEFENDANT VOLUNTARILY SURRENDERED THE BOND.

X_/ DEFENDANT REMANDED TO THE CUSTODY OF THE U. 8S. MARSHAL

__/ DEFENDANT RELEASED ON ORIGINAL/AMENDED BOND

__/DEFENDANT INFORMED THAT HEARING TO DETERMINE COUNSEL IS SET FOR: __

 

K/ RULE TO REVOKE BOND SET__MAY 22, 2019 AT 3:30 P.M.
BEFORE U. S. MAGISTRATE JUDGE JOSEPH C. WILKINS

     

 

 

 

MJSTAR: 00: 02

 

 
